Case 2:04-Cr-20470-BBD Document 27 Filed 07/07/05 Page 1 of 2 Page|D 30

 

.B.
:cu ':'HF. uN:c'rsD sma-ss nrsTRIc-r corm'r w B%‘ D
FoR THE wEsTERN nrs'rm:c'r or TENNF.ssEE mm 29
wEsTERN n:l:vrs:coN 05 JUL "1
l M.GUJ.D
_ us.o\s{$§mow
WD[§YN?NW*U

UNITED STATES OF AMERICA
Plaintiff,
VS. CR. NO. 04-20470-D

CARLOS BURNS
Defendant.

-._/-._¢-._¢\-._r~...~`,¢vv~._¢\-._r

 

onm:n ou cHANGE or PLEA
AND §!EEEJLE

 

This cause came to be heard on June 30, 2005, the United States
Attorney for this district, Dan.Newsom, appearing for the Government and the
defendant, Carlos Burns, appearing in person and with counsel,
Randolph W. Alden, who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Count(s) 1 of the
Indictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this case is SET for TUESDAY, SEPTEMBER 27, 2005, at
1:00 P.M., in Courtroom No. 3, on the 9th floor before Judge Bernice B.
Donald.

Defendant is allowed to remain released on present bond.

ENEERED this the {h‘day of July, 2005.

 

 

ITED STATES DISTRICT JUDGE

  
 

Y‘hls document entered on the dockets
Nl_thHute 55 andlor 32(b) FRCrP on

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 27 in
case 2:04-CR-20470 Was distributed by faX, mail, or direct printing on
July ]1, 2005 to the parties listed.

 

 

Randolph W. Alden

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

